   Case 1:25-cv-00402-AHA Document 74-1                      Filed 04/22/25 Page 1 of 2
USCA Case #25-5046   Document #2102988                         Filed: 02/26/2025 Page 1 of 2



                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 25-5046                                                     September Term, 2024
                                                                         1:25-cv-00400-AHA
                                                                         1:25-cv-00402-AHA
                                                           Filed On: February 26, 2025
AIDS Vaccine Advocacy Coalition and
Journalism Development Network, Inc.,

                 Appellees

        v.

United States Department of State, et al.,

                 Appellants


------------------------------

Consolidated with 25-5047


        BEFORE:           Pillard, Pan, and Garcia, Circuit Judges

                                             ORDER

       Upon consideration of the emergency motion for immediate administrative stay
and for stay pending appeal and the opposition thereto, which is combined with a
motion to dismiss the appeal, it is

        ORDERED that the motion to dismiss be granted. Appellants have not shown
that the district court’s February 25, 2025, minute orders, which enforced previously
entered temporary restraining orders (“TROs”), had the effect of granting an injunction
that is appealable under 28 U.S.C. § 1292(a)(1). See Kokkonen v. Guardian Life Ins.
Co. of Am., 511 U.S. 375, 377 (1994) (holding that the party asserting jurisdiction bears
the burden of establishing it).

       Appellants did not appeal the district court’s TROs. They now ask us to stay the
orders enforcing the TROs. A TRO is a temporary measure to preserve the status quo
ante during the pendency of proceedings for preliminary or permanent injunctive relief.
See 11A Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 2951
(3d ed. June 2024 update). TROs are generally unappealable because review “before
the district court has finished its work and issued a ruling on the preliminary injunction”
would “disrupt, if not render obsolete, the proceedings in the district court.” See
   Case 1:25-cv-00402-AHA Document 74-1                 Filed 04/22/25 Page 2 of 2
USCA Case #25-5046   Document #2102988                    Filed: 02/26/2025 Page 2 of 2



                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5046                                                September Term, 2024

Dellinger v. Bessent, No. 25-5028, 2025 WL 559669, at *5 (D.C. Cir. Feb. 15, 2025).
That reasoning applies with at least the same force to a later-issued order seeking to
enforce an unappealed TRO. Appellants cite no case that has held that such a later-
issued supporting order is appealable.

       Appellants argue that the enforcement orders are appealable under 28 U.S.C.
§ 1292(a)(1) because they go beyond preserving the status quo ante and impose
“serious, perhaps irreparable consequences” that can be effectually challenged only by
immediate appeal. See Carson v. Am. Brands, Inc., 450 U.S. 79, 90 (1981); Adams v.
Vance, 570 F.2d 950, 953 (D.C. Cir. 1978). Appellants, however, have not shown that
the enforcement orders disrupt the status quo by requiring them to do anything more
than they would have had to do absent the temporarily restrained agency actions, which
are the subject of ongoing preliminary injunction briefing.

      Consequently, Appellants have not met their burden of showing that the
enforcement orders are appealable. It is

       FURTHER ORDERED that, to the extent appellants request mandamus relief,
that request be denied. Appellants have not established a “clear and indisputable right”
to the writ. See Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 381 (2004). It is

       FURTHER ORDERED that the emergency motion for immediate administrative
stay and for stay pending appeal be dismissed as moot.

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution
of any timely petition for rehearing or petition for rehearing en banc. See Fed. R. App.
P. 41(b); D.C. Cir. Rule 41.


                                       Per Curiam


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Amy Yacisin
                                                         Deputy Clerk



                                          Page 2
